                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



  UNITED STATES OF AMERICA,
                 Plaintiff,                              No. CR07-4033-MWB
  vs.                                                ORDER CONCERNING
                                                 MAGISTRATE’S REPORT AND
  TONYA CARTER-GASHE,
                                                RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On June 13, 2007, an indictment was returned against defendant Tonya Carter-Gashe
charging her with conspiracy to distribute 50 grams or more of methamphetamine, in
violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846. On December 28, 2007,
defendant appeared before Chief United States Magistrate Judge Paul A. Zoss and entered
a plea of guilty to Count 1 of the indictment. On this same date, Judge Zoss filed a Report
and Recommendation in which he recommends that defendant’s guilty plea be accepted.
No objections to Judge Zoss’s Report and Recommendation were filed. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommendation to accept
defendant’s plea in this case.


                                      II. ANALYSIS
The court reviews the magistrate judge’s report and recommendation pursuant to the
statutory standards found in 28 U.S.C. § 636(b)(1):
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the



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              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]


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would only have to review the findings of the magistrate judge for clear error”); Taylor v.
Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed.
R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only satisfy
itself that there is no clear error on the face of the record”). After conducting its review,
the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.      Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of December 28, 2007, and
accepts defendant’s plea of guilty in this case to Count 1 of the indictment.
       IT IS SO ORDERED.
       DATED this 14th day of January, 2008.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 U. S. DISTRICT COURT JUDGE
                                                 NORTHERN DISTRICT OF IOWA




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